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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



    STATE OF FLORIDA,

          Plaintiff,

    v.                                            CASE NO. 8:21-cv-2524-SDM-TGW

    BILL NELSON, et al.,

          Defendants.
    ___________________________________/


                       PRELIMINARY INJUNCTION AND ORDER

          A December 22, 2021 order (Doc. 37) grants Florida’s motion for preliminary

    injunction on the claim that Executive Order 14042 exceeds the President’s authority

    under FPASA. The December 22, 2021 order permits the parties to propose a

    preliminary injunction.

          In accord with the parties’ jointly proposed preliminary injunction

    (Doc. 39-1), the defendants are PRELIMINARILY ENJOINED from enforcing

    within Florida any contract clause requiring compliance with the COVID Safety

    Protocols for Federal Contractors described in Executive Order No. 14042, Ensuring

    Adequate COVID Safety Protocols for Federal Contractors, 86 Fed. Reg. 50,985

    (Sept. 9, 2021), or from denying Florida a government contract based on Florida’s
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    refusal to agree to such a contract clause. No security bond is required under Federal

    Rule of Civil Procedure 65(c).

          ORDERED in Tampa, Florida, on December 30, 2021.




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